                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
               v.                                  )       No. 3:09-cr-00262-3
                                                   )       Judge Campbell
DARYL BORNSTEIN [3]                                )

                  ORDER OF FORFEITURE CONSISTING OF
                  $14,454,999.19 UNITED STATES CURRENCY
             MONEY JUDGMENTS AS TO COUNTS ONE, TWO AND TEN

       Based on the representations and agreements of the Government and Defendant Daryl

Bornstein at the plea hearing in this matter and as evidenced by the Plea Agreement entered into

between the parties, the Court finds as follows:

       WHEREAS, on July 27, 2011, the Government filed a sixteen count Superseding

Indictment charging Defendant Daryl Bornstein, in pertinent part, with violations of 18 U.S.C. §

371 conspiracy to commit securities fraud, mail fraud and wire fraud (Count One); 15 U.S.C. §§

78j(b) and 78ff and 17 C.F.R. § 240.10b-5 securities fraud (Count Two); and 18 U.S.C. § 1957

money laundering (Count Ten);

       WHEREAS, the forfeiture allegation of the Superseding Indictment gave notice pursuant

to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c) that, in pertinent part, upon conviction

Count One, Two and/or Ten, Defendant Daryl Bornstein shall forfeit any all proceeds of the

scheme or artifice to defraud, and if said proceeds were unavailable, then a money judgment

would enter in the amount of at least $18 million which represents proceeds of the offenses in

Counts One through Fifteen;




 Case 3:09-cr-00262        Document 252        Filed 08/25/14    Page 1 of 5 PageID #: 890
       WHEREAS, the forfeiture allegation of the Superseding Indictment also gave notice to

Defendant Daryl Bornstein that in the event the $18 million in proceeds, as a result of any act or

omission of DARYL BORNSTEIN:

               a.      cannot be located upon the exercise of due diligence;
               b.      has been transferred or sold to, or deposited with, a third party;
               c.      has been placed beyond the jurisdiction of the court;
               d.      has been substantially diminished in value; or
               e.      has been commingled with other property that cannot be divided without
                       difficulty,

the United States shall be entitled to forfeiture of substitute property and intends, pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), to seek

forfeiture of any other property of Defendant Daryl Bornstein up to $18 million;

       WHEREAS, Defendant Daryl Bornstein has entered into a Plea Agreement with the

United States wherein he has pled guilty to Counts One, Two and Ten of the Superseding

Indictment;

       WHEREAS, Defendant Daryl Bornstein agreed to the entry of a forfeiture judgment in

the amount of $14,454,999.19 United States currency corresponding to the forfeiture allegation

in the Superseding Indictment in the amount of restitution determined by the Court because these

funds were obtained directly or indirectly as a result of the conduct alleged in Counts One, Two

and Ten of the Superseding Indictment, and which constitute or are derived from proceeds

traceable to each violation;

       WHEREAS, as a result of Defendant Daryl Bornstein’s own act(s) or omission(s), the

$14,454,999.19 in proceeds obtained as a result of the conduct alleged in Counts One, Two and

Ten of the Superseding Indictment, either cannot be located upon the exercise of due diligence;

have been transferred or sold to, or deposited with, a third party; have been placed beyond the

jurisdiction of the court; have been substantially diminished in value; or have been commingled

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 Case 3:09-cr-00262            Document 252     Filed 08/25/14     Page 2 of 5 PageID #: 891
with other property that cannot be divided without difficulty; and as a result, pursuant to 21

U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. § 2461(c), the United

States is entitled to forfeiture of substitute property.

        Now, therefore, based upon the signed Plea Agreement, this Court makes the following

findings:

        1.      There is a preponderance of the evidence that the proceeds of the scheme to

 defraud as set forth in the offenses to which Defendant Daryl Bornstein has pled guilty in this

 matter are $14,454,999.19.

        2.      $14,454,999.19 is subject to forfeiture because these funds were obtained directly

or indirectly as a result of the conspiracy and scheme to defraud as charged in Counts One, Two

and Ten of the Superseding Indictment, and which constitutes or is derived from proceeds

traceable to each violation.

        3.      As a result of Defendant Daryl Bornstein’s act(s) or omission(s), the

$14,454,999.19 in proceeds obtained as a result of the conspiracy and scheme to defraud to

which Defendant Daryl Bornstein has pled guilty, either cannot be located upon the exercise of

due diligence; have been transferred or sold to, or deposited with, a third party; have been placed

beyond the jurisdiction of the court; have been substantially diminished in value; or have been

commingled with other property that cannot be divided without difficulty; and as a result,

pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1) and 28 U.S.C. §

2461(c), the United States is entitled to forfeiture of substitute property up to $14,454,999.19.

        NOW THEREFORE it is hereby ORDERED, ADJUDGED AND DECREED that:

        A.      An Order of Forfeiture Consisting of Money Judgments in the amount of

$14,454,999.19 United States currency (“Order of Forfeiture”) is hereby taken against Defendant



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 Case 3:09-cr-00262            Document 252        Filed 08/25/14   Page 3 of 5 PageID #: 892
Daryl Bornstein as to Counts One, Two and Ten.            Pursuant to Federal Rule of Criminal

Procedure, Rule 32.2(b)(4), the Order of Forfeiture consisting of Money Judgments shall become

immediately final as to the defendant, by his consent, and shall be made part of the sentence and

included in the judgment. Pursuant to Rule 32.2(c)(1), “. . . no ancillary proceeding is required

to the extent that the forfeiture consists of a money judgment.”

       B.       The United States may engage in discovery in the manner in which discovery is

authorized by the Federal Rules of Civil Procedure in an action or claim for a debt to identify

additional substitute assets having a value up to $14,454,999.19 United States currency as

authorized by 28 U.S.C. §§ 3001(a)(1) and 3015 et seq. and by Federal Rule of Criminal

Procedure, Rule 32.2(b)(3).

       C.       The United States Probation and Pretrial Services will provide the Defendant’s

Presentence Report and all supporting documentation to the Asset Forfeiture Unit of the United

States Attorney Office for use in discovery.

       D.       The Internal Revenue Service will provide the Defendant’s Tax Returns for the

years 2003 through 2013 to the Asset Forfeiture Unit of the United States Attorney Office for use

in discovery.

       E.       The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

Order of Forfeiture consisting of $14,454,999.19 Money Judgments as to Counts One, Two and

Ten to include substitute property having a value not to exceed in total $14,454,999.19 United

States currency to satisfy the Money Judgments in whole or in part.

       F.       Upon payment of either Money Judgment in full, the United States shall file a

satisfaction of judgments as to both money judgments with the District Court and the appropriate

clerk of the county in which any transcript or abstracts of the judgments have been filed.



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 Case 3:09-cr-00262        Document 252         Filed 08/25/14     Page 4 of 5 PageID #: 893
       G.      Insofar as the Order of Forfeiture is not satisfied, and a sum of money is still

owed, then Defendant shall remain personally liable pursuant to this Order of Forfeiture, which

will continue in full effect until payment of the total amount of $14,454,999.19 United States

currency plus statutory interest is made in full as to either money judgment.

       H.      The Court shall retain jurisdiction to enforce this Order and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).

       IT IS SO ORDERED this               day of                               , 2014.




                                             TODD J. CAMPBELL
                                             United States District Judge




                                                   5

 Case 3:09-cr-00262        Document 252        Filed 08/25/14      Page 5 of 5 PageID #: 894
